               Case 2:10-cv-01823-JLR Document 438-2 Filed 09/13/12 Page 1 of 4




 1                                                                 The Honorable James L. Robart

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 6                                 UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                          AT SEATTLE

 8   MICROSOFT CORPORATION, a Washington
     corporation,                                      CASE NO. C10-1823-JLR
 9

10                                   Plaintiff,        ORDER GRANTING MOTOROLA
                                                       MOBILITY’S AND GENERAL
11                      v.                             INSTRUMENT’S UNOPPOSED AND
                                                       AGREED MOTION TO SUBSTITUTE
12                                                     PARTIES
     MOTOROLA, INC., and MOTOROLA                      [PROPOSED]
     MOBILITY, INC., and GENERAL
13
     INSTRUMENT CORPORATION,                           NOTED ON MOTION CALENDAR:
14                                                     Thursday, September 13, 2012
                                     Defendants.
15

16   MOTOROLA MOBILITY, INC., and
     GENERAL INSTRUMENT CORPORATION,
17

18               Plaintiffs/Counterclaim Defendant,

19                      v.
20   MICROSOFT CORPORATION,
21
                   Defendant/Counterclaim Plaintiff.
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     PROPOSED ORDER GRANTING MOTOROLA MOBILITY’S                   SUMMIT LAW GROUP PLLC
     AND GENERAL INSTRUMENT’S UNOPPOSED AND                          315 FIFTH AVENUE SOUTH, SUITE 1000
     AGREED MOTION TO SUBSTITUTE PARTIES                              SEATTLE, WASHINGTON 98104-2682
     CASE NO. C10-1823-JLR                                                 Telephone: (206) 676-7000
                                                                              Fax: (206) 676-7001
     4850-6261-0705.1
               Case 2:10-cv-01823-JLR Document 438-2 Filed 09/13/12 Page 2 of 4




 1            THIS MATTER having come before the Court on Motorola Mobility’s and General

 2   Instrument’s Unopposed and Agreed Motion to Substitute Parties, and the Court having reviewed

 3   the pleadings and evidence presented and on file in this case, and being otherwise fully advised as

 4   to the issues presented, the Court hereby:

 5            ORDERS, ADJUDGES AND DECREES that Motorola Mobility LLC is substituted for

 6   Motorola Mobility, Inc., the style of the case is revised accordingly, and all prior pleadings,

 7   motions, answers, and/or other filed documents in this case reflecting “Motorola Mobility, Inc.”

 8   shall be deemed to now say “Motorola Mobility LLC” instead.

 9            IT IS SO ORDERED.
10            DATED this ______ day of ______________, 2012.
11

12                                                _________________________________________
13                                                THE HONORABLE JAMES L. ROBART
                                                  UNITED STATES DISTRICT COURT JUDGE
14
     Presented by:
15
     SUMMIT LAW GROUP PLLC
16

17   By /s/ Philip S. McCune _______________
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18      Philip S. McCune, WSBA #21081
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     By /s/ Thomas V. Miller____________
22      Thomas V. Miller
        MOTOROLA MOBILITY LLC
23      600 North U.S. Highway 45
24      Libertyville, IL 60048-1286
        (847) 523-2162
25

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     PROPOSED ORDER GRANTING MOTOROLA MOBILITY’S                        SUMMIT LAW GROUP PLLC
     AND GENERAL INSTRUMENT’S UNOPPOSED AND                               315 FIFTH AVENUE SOUTH, SUITE 1000
     AGREED MOTION TO SUBSTITUTE PARTIES - 1                               SEATTLE, WASHINGTON 98104-2682
     CASE NO. C10-1823-JLR                                                      Telephone: (206) 676-7000
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               Case 2:10-cv-01823-JLR Document 438-2 Filed 09/13/12 Page 3 of 4




 1   And by

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16   Attorneys for Motorola, Inc., Motorola Mobility
17   LLC, and General Instrument Corporation

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     PROPOSED ORDER GRANTING MOTOROLA MOBILITY’S             SUMMIT LAW GROUP PLLC
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     4850-6261-0705.1
               Case 2:10-cv-01823-JLR Document 438-2 Filed 09/13/12 Page 4 of 4




 1                                     CERTIFICATE OF SERVICE

 2          I hereby certify that on this day I electronically filed the foregoing with the Clerk of the
     Court using the CM/ECF system which will send notification of such filing to the following:
 3
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              DATED this 13th day of September, 2012.
25
                                                              /s/          Marcia A. Ripley
26                                                                        Marcia A. Ripley


     PROPOSED ORDER GRANTING MOTOROLA MOBILITY’S                           SUMMIT LAW GROUP PLLC
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